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 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10
11    United States of America,                   No. 2: 12-CR-169-MCE-11
12                    Plaintiff,                  STIPULATION AND ORDER TO
                                                  CONTINUE SENTENCING
13             v.
                                                  Judge: Hon. Morrison C. England, Jr.
14    Beshiba Cook,                               Time: 10:00 a.m.
                                                  Date: July 19, 2018
15                    Defendant.
16
17   IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, Jason Hitt, Assistant United States Attorney, and Dustin D. Johnson, Counsel
19   for BESHIBA COOK, that:
20      1. By previous order, this matter was set for sentencing on June 21, 2018.
21      2. By stipulation, the parties now move to continue sentencing to July 19, 2018.
22      3. The parties agree and stipulate that this continuance will provide both parties
23         additional time to prepare for sentencing by, inter alia, researching issues
24         pertinent to making a recommendation to the Court for a proposed sentence.
25   IT IS SO STIPULATED.
26         The prosecutor has authorized defense counsel to sign this stipulation on his
27   behalf.
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 1          The probation officer has no objection to continuing the judgment and sentencing
 2   hearing to July 19, 2018 and has provided the following briefing schedule based on the

 3   new Judgment and Sentencing Date of July 19, 2018
 4      •   Reply, or Statement of Non-Opposition: July 12, 2018.
 5      •   Motion for Correction of the Presentence report shall be filed with the Court and
 6          served on the Probation Officer and opposing Counsel no later than: July 5, 2018.
 7      •   The Presentence Report shall be filed with the Court and disclosed to counsel no
 8          later than: June 28, 2018
 9      •   Counsel’s Written Objections to the Presentence Report shall be delivered to the
10          Probation officer and opposing counsel no later than: June 21, 2018.
11
12   Dated: May 24, 2018                              /s/ Dustin D. Johnson
                                                      DUSTIN D. JOHNSON
13                                                    Counsel for Defendant
                                                      Beshiba Cook
14
15   Dated: May 24, 2018                              McGregor W. Scott
                                                      United States Attorney
16
17                                                    /s/ Jason Hitt (approved via email)
                                                      Jason Hitt
18                                                    Assistant United States Attorney
19
20
21                                            ORDER
22          IT IS SO ORDERED.
23   Dated: June 4, 2018
24
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